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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

United States of America,             )
                                      )
               Plaintiff,             )       ORDER (AMENDED) GRANTING
                                      )       MOTION FOR FURLOUGH
       vs.                            )
                                      )
Regina Rose Lehman,                   )       Case No. 1:15-cr-122
                                      )
               Defendant.             )

       Defendant was ordered detained pending final disposition of this matter. On May 26, 2016,

the Government filed a “Motion for Furlough - Temporary Release to Address Medical Issues.” It

advises: (1) defendant has been hospitalized in Jamestown, North Dakota, to address ongoing

medical needs; (2) defendant will be kept at the hospital at least until May 1, 2016, at which time

her condition will be re-assessed; and (3) the United States Marshal is required to maintain a

presence at the hospital until defendant is discharged. It requests that the court temporarily order

defendant’s release while she obtains treatment.

       The court GRANTS the Government’s motion (Docket No. 404). Defendant shall be

temporarily released. Upon discharge from the hospital in Jamestown, defendant shall immediately

contact the Stutsman County Correctional Center. If defendant is moved to a medical facility

outside of Jamestown for treatment, she shall surrender to the nearest United States Marshal’s

Service office upon her discharge from that facility.

       IT IS SO ORDERED.

       Dated this 27th day of May, 2016.

                                                        /s/ Charles S. Miller, Jr.
                                                        Charles S. Miller, Jr., Magistrate Judge
                                                        United States District Court
